 Case 2:09-cr-20119-JWL         Document 1004       Filed 10/16/12     Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff / Respondent, )
                                         )
      v.                                 )                Case No. 09-20119-14-JWL
                                         )                Case No. 12-2422-JWL
JESUS RIOS-MENDOZA                       )
                                         )
                 Defendant / Petitioner. )
                                         )
_______________________________________)


                          MEMORANDUM AND ORDER

       This matter is presently before the Court on defendant Jesus Rios-Mendoza’s pro

se petition to modify his sentence pursuant to 28 U.S.C. § 2255 (Doc. # 980). For the

reasons set forth below, the Court concludes that defendant is not entitled to relief, and

his petition is therefore denied.



       I.     Background

       Along with several other defendants, defendant was charged with one count of

a conspiracy to distribute and to possess with intent to distribute more than five

kilograms of cocaine, more than 50 grams of methamphetamine, and marijuana, in

violation of 21 U.S.C. §§ 841(a)(1) and 846. On January 24, 2011, on the eve of trial,

defendant pleaded guilty to that charge without a plea agreement.

       On May 23, 2011, the Court sentenced defendant to a period of imprisonment of
 Case 2:09-cr-20119-JWL         Document 1004        Filed 10/16/12     Page 2 of 8




121 months. According to the presentence report, which the Court adopted in its

entirety, the equivalent of 3,313.84 kilograms of marijuana was attributable to defendant,

which calculation yielded a base offense level of 34 under the applicable sentencing

guidelines. After hearing testimony, the Court overruled defendant’s objection and

added two levels based on the possession of firearms by his co-conspirators. See

U.S.S.G. § 2D1.1(b)(1) (2010). After applying a three-level deduction for acceptance

of responsibility, the Court concluded that the applicable sentencing guideline range was

a term of imprisonment of 135 to 168 months (offense level 33, criminal history category

I). The Court refused to apply the safety valve, which would have allowed for an

additional two-level deduction and a sentence below the statutory mandatory minimum

sentence of ten years, see U.S.S.G. § 5C1.2, on the basis of its finding that defendant had

not been candid in supplying information to the Government. Nevertheless, the Court

varied downward by one level and imposed a sentence at the low end of the range for

level 32. The Court concluded that such a sentence was sufficient to reflect the

seriousness of the offense, promote respect for the law, and deter criminal conduct, in

light of defendant’s young age, his lack of significant criminal history, and the fact that

the firearms possessed by the co-conspirators were not used in a manner typical to drug

trafficking offenses.

       Defendant filed an appeal, for which defendant’s counsel submitted an Anders

brief. On March 13, 2012, while the appeal was pending, the Court dismissed as

premature defendant’s first petition for relief under 28 U.S.C. § 2255. On June 28, 2012,

                                            2
 Case 2:09-cr-20119-JWL         Document 1004       Filed 10/16/12     Page 3 of 8




the Tenth Circuit rejected defendant’s jurisdictional argument and affirmed defendant’s

conviction and sentence. Defendant filed the present petition on July 5, 2012.



       II.    Analysis

              A.     Failure to Argue for Minimal or Minor Participant Deduction

       In the first claim asserted in his Section 2255 petition, defendant claims that his

counsel’s performance was constitutionally deficient because at sentencing he failed to

argue for a four- or two-level deduction based on defendant’s role as a minimal or minor

participant in the criminal activity, pursuant to U.S.S.G. § 3B1.2. Section 2255 entitles

a prisoner to relief “[i]f the court finds that the judgment was rendered without

jurisdiction, or that the sentence imposed was not authorized by law or otherwise open

to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral

attack.” See 28 U.S.C. § 2255(b). “To establish ineffective assistance of counsel, [a]

[d]efendant must show ‘that counsel’s representation fell below an objective standard

of reasonableness’ and that he was prejudiced by the deficient performance.” United

States v. Moya, 676 F.3d 1211, 1213 (10th Cir. 2012) (quoting Strickland v. Washington,

466 U.S. 668, 687-88 (1984)).

       The Court need not address whether counsel’s performance was ineffective in this

regard because it concludes that defendant has failed to demonstrate the necessary

prejudice from counsel’s failure to raise this issue at sentencing. See Strickland, 466

                                           3
 Case 2:09-cr-20119-JWL         Document 1004        Filed 10/16/12     Page 4 of 8




U.S. at 697 (court need not address both prongs of test for ineffective assistance of

counsel if there is an insufficient showing on one prong). Simply put, even if the issue

had been raised, the Court would not have applied a deduction for a minimal or minor

role in the offense.

       A minimal or minor participant adjustment is available only to “a defendant who

plays a part in committing the offense that makes him substantially less culpable than the

average participant.” See U.S.S.G. § 3B1.2 cmt. n.3(A), quoted in United States v.

Martinez, 512 F.3d 1268, 1275 (10th Cir. 2008). This determination depends on the

facts of the particular case, and the Court, “in weighing the totality of the circumstances,

is not required to find, based solely on the defendant’s bare assertion, that such a role

adjustment is warranted.” See U.S.S.G. § 3B1.2 cmt. n.3(C), quoted in Martinez, 512

F.3d at 1275.

       Defendant argues that he was entitled to this adjustment because he acted solely

as a “mere driver” or “gofer” who took orders from others, had no knowledge about the

conspiracy, and had no contact with “the actual sellers (drug dealers).” The Tenth

Circuit has rejected the argument that a drug courier necessarily plays a minor role, as

follows:

       [W]e have consistently refused to adopt a per se rule allowing a downward
       adjustment based solely on a defendant’s status as a drug courier. . . .
       [D]rug couriers are an indispensable component of drug dealing networks.
       To debate whether couriers as a group are less culpable would not be
       productive, akin to the old argument over which leg of a three-legged stool
       is the most important leg. The district court’s decision whether to grant
       an adjustment under § 3B1.2 must therefore turn on the defendant’s

                                             4
 Case 2:09-cr-20119-JWL         Document 1004        Filed 10/16/12    Page 5 of 8




       culpability relative to other participants in the crime.

Martinez, 512 F.3d at 1276 (emphasis omitted, internal quotations and citations omitted).

       The facts set forth in the presentence report (to which defendant did not object)

and the credible testimony by a case agent at defendant’s sentencing establish that

defendant’s role in the conspiracy was not a minimal or minor one for purposes of this

adjustment. Defendant helped to transport drugs or drug proceeds by car between

California and the Kansas City area on four separate occasions. Defendant helped to

package and unpackage those drugs and proceeds and to hide them in compartments in

the vehicles. He knew the purposes of those trips, and he continued in that role even

after his first trip, when law enforcement stopped and searched the vehicle and found

money that one passenger admitted represented drug proceeds. Defendant’s brother-in-

law acted as one of the chiefs of the drug-trafficking conspiracy, and other relatives of

defendant also participated in the conspiracy.         Defendant’s involvement in the

conspiracy was not limited to one or two isolated incidents.

       In addition, the Court notes that the scope of defendant’s involvement in the

conspiracy was already reflected by the fact that the presentence report attributed to him

not all of the drugs involved in the conspiracy, but only those drugs and proceeds

involved in his four trips. Thus, even though the guidelines would still make an

adjustment possible, see U.S.S.G. § 3B1.2 cmt. n.3(A), an additional adjustment in this

case would result in “an undeserved windfall” for defendant. See Martinez, 512 F.3d at

1276 & n.3.

                                            5
 Case 2:09-cr-20119-JWL         Document 1004        Filed 10/16/12   Page 6 of 8




       For these reasons, the Court would not have applied a deduction based on

defendant’s role in the offense. Thus, defendant cannot have suffered any prejudice

from his attorney’s failure to seek such an adjustment. Accordingly, defendant is not

entitled to relief, and this claim by defendant is denied.

              B.     Place of Incarceration

       In the second claim asserted in his Section 2255 petition, defendant claims a

“harsh incarceration,” based on the fact that he has been assigned to an immigration

detention center instead of another facility where he could benefit from programs that

would “better himself and lessen his federal sentence.” The place of defendant’s

confinement, however, is not part of the sentence imposed by the Court and instead falls

within the authority of the Bureau of Prisons. See United States v. Canas-Briseno, 118

F. App’x 419, 421 (10th Cir. 2004) (citing Prows v. Federal Bur. of Prisons, 981 F.2d

466, 468-49 n.3 (10th Cir. 1992)); see also 18 U.S.C. § 3621(b) (granting authority

concerning the place of confinement to the Bureau of Prisons). Moreover, “federal

prisoners generally enjoy no constitutional right to placement in any particular penal

institution.” See Prows, 981 F.2d at 468-69 n.3. Thus, defendant has not shown that this

Court erred in imposing his sentence or that he is otherwise entitled to relief, and,

accordingly, the Court denies this claim.1



       1
        Because the motion and records of this case conclusively show that defendant is
not entitled to relief, the Court need not conduct a hearing on his claims. See 28 U.S.C.
§ 2255(b).

                                             6
 Case 2:09-cr-20119-JWL         Document 1004        Filed 10/16/12     Page 7 of 8




       III.   Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the Court must issue or deny a certificate of appealability when

it enters a final order adverse to the applicant. “A certificate of appealability may issue

. . . only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the petitioner must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” See Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004)

(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For the same reasons stated

above, defendant has not made a substantial showing of the denial of a constitutional

right; the Court therefore denies a certificate of appealability with respect to the claims

asserted in defendant’s petition.



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s petition

to modify his sentence pursuant to 28 U.S.C. § 2255 (Doc. # 980) is denied.


       IT IS SO ORDERED.


       Dated this 16th day of October, 2012, in Kansas City, Kansas.



       2
        The denial of a Section 2255 petition is not appealable unless a circuit justice or
a circuit or district judge issues a certificate of appealability. See Fed. R. App. P.
22(b)(1); 28 U.S.C. § 2253(c)(1).

                                             7
Case 2:09-cr-20119-JWL   Document 1004    Filed 10/16/12    Page 8 of 8




                                         s/ John W. Lungstrum
                                         John W. Lungstrum
                                         United States District Judge




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